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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MERCEDES LIRIANO, et al.,

                                Plaintiffs,

         against
                                                      CIVIL ACTION NO.: 19 Civ. 11245 (LGS) (SLC)

                                                                  SCHEDULING ORDER
NEW YORK CITY DEPARTMENT OF EDUCATION
and PATRICIA CATANIA, jointly and severally,

                                Defendants.


SARAH L. CAVE, United States Magistrate Judge.


         Plaintiffs’ Letter-Motion (ECF No. 69) to adjourn sine die the Settlement Conference

scheduled for Monday, October 26, 2020 at 10:00 am in GRANTED IN PART AND DENIED IN PART.

The Settlement Conference is CONVERTED to a Telephone Status Conference on the Court’s

conference line. The parties are directed to call: (866) 390-1828; access code: 380-9799, at the

scheduled time.

         The Clerk of Court is respectfully directed to close ECF No. 69 and to calendar the

conference as a Settlement Conference even though it will take place by phone.


Dated:             New York, New York
                   October 19, 2020

                                                   SO ORDERED



                                                   _________________________
                                                   SARAH L. CAVE
                                                   United States Magistrate Judge
